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9
10                              UNITED STATES DISTRICT COURT
11                                    DISTRICT OF NEVADA
12
                                                )
13   RODNEY LEVETT BARTLETT,                    )   No. 2:21-cv-01579-NJK
                                                )
14                 Plaintiff,                   )   UNOPPOSED MOTION FOR
                                                )   EXTENSION OF TIME TO THE FILE
15          vs.                                 )   ANSWER AND ELECTRONIC
                                                )
16   KILOLO KIJAKAZI,                           )   CERTIFIED ADMINISTRATIVE
     Acting Commissioner of Social Security,    )   RECORD
17                                              )
18                Defendant.                    )   (FIRST REQUEST)
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1            Defendant hereby moves for a 45-day extension of time to file Defendant’s Answer and

2    electronic Certified Administrative Record (eCAR).          Defendant’s response to Plaintiff’s
3    Complaint and eCAR are due to be filed by November 15, 2021. This is Defendant’s first motion
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     for extension of time to file the Answer and eCAR. In support of this request, Defendant states
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     the following:
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7            1.       The COVID-19 pandemic significantly impacted Defendant’s operations, and

8    particularly the Office of Appellate Operations (OAO).1 Beginning in mid-March 2020, OAO’s
9    staff members began to telework to protect employee health and prevent the spread of COVID-19.
10
     As a result, critical in-person physical tasks associated with preparing CARs could not be
11
     accomplished. To ensure continuity of operations, OAO redesigned its business practices to allow
12
13   for a mostly virtual preparation process. The transition required, among other things, OAO to

14   modify and test technology, retrain staff, and modify blanket purchasing agreements with the
15   transcription typing services relied upon to prepare transcripts of agency hearings. OAO has
16
     continued to innovate in order to improve productivity.
17
             2.       In addition to the impact the COVID-19 pandemic has had on physical operations,
18
19   a major contributing factor to OAO operations was a substantial increase in district court filings.

20   New case receipts during the last quarter of FY 2020 and the first quarter of FY 2021 increased
21   (on average) to 2,257 case receipts per month, as compared to 1,458 per month for the same period
22
     one year before.
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             3.       As of the end of September 2021, OAO had approximately 1,500 pending new court
24
25   cases, representing a decrease in the backlog of more than 9,500 cases since January 2021.

26
27   1
       OAO is based in Falls Church, Virginia, and is the office responsible for physically producing
     the certified administrative records for cases nationwide that are filed under Sections 205(g) and
28   (h) of the Social Security Act, 42 U.S.C. § 405(g) and (h).

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1           4.      There remains, however, a backlog of cases to be processed, including this case.

2    The undersigned has communicated with OAO on the eCAR in this case, and OAO is waiting on
3    the transcription of the ALJ hearing while it reviews and compiles the electronic file. OAO
4
     believes this CAR can be completed within the next 45 days.
5
            5.      Accordingly, Defendant respectfully requests that the Court grant this Motion and
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7    permit an additional 45 days, until December 30, 2021, for Defendant to file a responsive pleading

8    and the eCAR in this action.
9           6.      Defendant conferred with Plaintiff's Counsel regarding a 45-day extension of time,
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     and he confirmed on November 8, 2021, that he does not oppose this request.
11
            WHEREFORE, Defendant respectfully requests the Court grant a 45-day extension of time
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13   to file the Answer and eCAR, through and including December 30, 2021.

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            Dated: November 09, 2021                     Respectfully submitted,
15
16                                                       CHRISTOPHER CHIOU
                                                         Acting United States Attorney
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18                                                       /s/ Daniel P. Talbert
                                                         DANIEL P. TALBERT
19                                                       Special Assistant United States Attorney
                                                         Social Security Administration
20   KRYSTLE S. MCMULLAN
     Assistant Regional Counsel
21   Of Counsel
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23
        In addition, a paper copy of the
24                                                       IT IS SO ORDERED:
        administrative record must be
25      submitted by March 4, 2022.
                                                         HON. NANCY J. KOPPE
26
                                                         UNITED STATES MAGISTRATE JUDGE
27
                                                                November 10, 2021
                                                         DATED: ___________________________
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